
*171OPINION'.
LittletoN :
Whatever value the good will of Julius Wile Sons &amp; Co. may have had on March 1, 1913, no deduction on account of destruction or obsolescence thereof due to prohibition legislation is allowable from gross income under the provisions of section 214 (a) (8) of the Revenue Act of 1918. Red Wing Malting Co. v. Willcuts, 15 Fed. (2d) 626; Manhattan Brewing Co., 6 B. T. A. 952; Olt Bros. Brewing Co., 6 B. T. A. 974.
On the authority of those decisions the action of the Commissioner in refusing to allow this petitioner a deduction of any amount as obsolescence of the March 1, 1913, value of the good will of Julius Wile Sons &amp; Co., a partnership for the calendar year 1920, is affirmed.

Judgment will he entered for the Commissioner.

Smith not participating.
